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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 DOMINIC F. BARAGONA, et al.,
                              Plaintiffs,
          v.                                         1:05-cv-1267-WSD
 KUWAIT GULF LINK
 TRANSPORT COMPANY, et al.,
                            Defendants.


                             OPINION AND ORDER

      This matter is before the Court on Plaintiffs’ Motion for Order Allowing the

Submission of Affidavits [29] and Plaintiffs’ Memorandum Regarding the Iraqi

Law Report [36].1

I.    BACKGROUND

      This is a tort action brought by the parents of Lieutenant Colonel Dominic F.

Baragona (“Lt. Col. Baragona”), seeking damages arising from the death of their

son, who was killed in an automobile accident in Iraq while serving as an officer in

the United States Army. The Defendants are Kuwait Gulf Link Transport

Company (“KGL”) and Mahmoud Muhammed Hessain Serour (“Serour”). The

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        Having considered the affidavits submitted by Plaintiffs, Plaintiffs Motion
for Order Allowing the Submission of Affidavits [29] is GRANTED.
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accident occurred when the Army Humvee in which Lt. Col. Baragona was a

passenger collided with a truck owned by KGL and driven by Serour, a KGL

employee.

      Plaintiffs have asserted an action for wrongful death based on the accident.

This Court has determined in prior orders that it has subject matter jurisdiction

over the action, and personal jurisdiction over Defendant KGL. At a hearing held

on April 25, 2007, Plaintiffs presented evidence and expert testimony on damages.

      In an order entered on July 16, 2007 (“July 16 Order”), the Court required

Plaintiffs to submit briefing on the laws of Iraq as they relate to this case. The

Court’s purpose was to determine: (i) whether, under Georgia’s conflicts of law

rules, Georgia or Iraqi law applies to this action; (ii) whether, under the applicable

law, Plaintiffs stated a viable cause of action sufficient to obtain default judgment;

and (iii) what measure of damages, if any, is appropriate.

      In light of the unique requirements of obtaining Arabic translation services

and expert opinions on Iraqi law, the Court granted Plaintiffs a substantial amount

of time to complete this briefing. On October 11, 2007, Plaintiffs filed the

memorandum requested by the Court. Plaintiffs obtained the aid of Judge Raid

Juhi Hamadi Al-Saedi, a former Iraqi judge, and Dr. Abdullah F. Ansary, a Saudi

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professor of law with degrees from Harvard and the University of Virginia. Judge

Al-Saedi and Dr. Ansary jointly drafted an expert report on Iraqi law, which

Plaintiffs submitted pursuant to Federal Rule of Civil Procedure 44.1.2 After

reviewing this report, and for the reasons set forth below, the Court finds: (i) Iraqi

law applies to this case; (ii) Plaintiffs’ complaint states a cause of action under

Iraqi law; and (iii) Plaintiffs are entitled to damages of $4,907,048 under Iraqi law.

The Court grants default judgment in this amount.

II.   DISCUSSION

      A.      Georgia’s Conflicts Rules

      Federal courts sitting in diversity apply the forum state’s choice-of-law

principles. Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487 (1941). Under

Georgia law, “the lex loci delicti determines the substantive rights of the parties.”

Risdon Enterprises, Inc. v. Colemill Enterprises, Inc., 324 S.E.2d 738, 740 (Ga. Ct.

App. 1984). Georgia’s lex loci rule is subject to a public policy exception if the

harm occurred in a foreign state and the foreign state’s rule “[c]ontravenes our


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        “The court, in determining foreign law, may consider any relevant material
or source, including testimony, whether or not submitted by a party or admissible
under the Federal Rules of Evidence. The court's determination shall be treated as a
ruling on a question of law.” Fed. R. Civ. P. 44.1.

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established public policy, or the recognized standards of civilization and good

morals . . .” Alexander v. General Motors Corp., 466 S.E.2d 607, 609 (Ga. Ct.

App. 1995), rev’d on other grounds at 478 S.E. 2d 123 (Ga. 1996). The public

policy exception applies where “the foreign statute is designed to redress an injury,

but prescribes a form of redress which is radically dissimilar to anything existing in

our own system of jurisprudence.” Id. If the otherwise applicable forum law

violates Georgia public policy, Georgia applies its own law. Id.

      B.     Georgia and Iraqi Law at the Time of the Accident

      The accident in which Lt. Col. Baragona died occurred on May 19, 2003, in

Iraq. Because Iraq is the place of the harm, Iraqi law governs under Georgia

conflicts law unless it contravenes Georgia public policy. The Court has evaluated

four principles of law that are necessary to determine the outcome in this case:

liability for negligence resulting in wrongful death; respondeat superior; standing;

and wrongful death damages. The Court concludes that Iraqi law does not

contravene Georgia public policy in any of these areas. Iraqi law thus applies.




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             1.     Liability for Negligence Resulting in Wrongful Death

      Georgia law provides for recovery for wrongful death caused by negligence.

O.C.G.A. § 51-4-1. Recovery for wrongful death is available “in all cases in which

the death of a human being results from a crime, [or] from criminal or other

negligence . . . .” Id. (emphasis added). This includes cases where the wrongful

death is caused by negligent unsafe driving. See, e.g., Banks v. AJC Intern., Inc.,

643 S.E.2d 780 (Ga. Ct. App. 2007).

      Iraqi law similarly provides for a cause of action for wrongful death. Article

203 of the Iraqi Civil Law provides, “[i]n case of murder and in case of death

resulting from wounds or any other injurious acts renders the perpetrator liable to

pay compensation to the dependant of the victim who have been deprived

sustenance on account of the murder or death.” Negligent unsafe driving is a

source of injury that can give rise to a cause of action if it results in harm. Iraqi

Civil Code No. 40, Article 227, provides that “every person has the right of

passage on the public road provided he (observes) the safety (precautions) so that

he will not cause injury to a third party or to himself in the cases where (safety)

precautions may be taken.”




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      Plaintiffs allege that Serour violated Lt. Col. Baragona’s right of safe

passage on a public road by negligent driving that ultimately resulted in Lt. Col.

Baragona’s death. Because Serour’s negligence resulted in death, a cause of action

exists under Iraqi law. Iraqi law on this issue is thus not inconsistent with Georgia

public policy.

             2.    Respondeat Superior

      Georgia law provides for employer liability if an employee, acting within the

scope of his employment, negligently causes harm in an auto accident. Bedford v.

Awod, 545 S.E.2d 162 (Ga. Ct. App. 2001). Respondeat superior liability is

presumed if the employer owns the vehicle involved in the collision. Id.

      Iraqi law provides for vicarious liability in master-servant relationships. The

Iraqi Court of Cassations has held that “every person who exploits an industrial or

commercial enterprise [is] responsible for the damage (injury) caused by their

employee if the injury resulted from an encroachment committed by them in the

course of their service.” Decision 33, Court of Cassations, January 27, 1982 (Iraq).

This principle is also embodied in Article 219 of the Iraqi Civil Code. The

complaint alleges that a KGL employee, in the course of his service to KGL,

caused Lt. Col. Baragona’s death. Georgia and Iraqi law both provide for

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respondeat superior liability under the facts present in the complaint. Iraqi law on

this issue is not inconsistent with Georgia public policy.

             3.     Standing

      Under Georgia law, the parents of an adult child have standing to bring a

wrongful death action “[i]f the deceased child does not leave a spouse or child . . . .

.” O.C.G.A. § 19-7-1(c)(2).

      Under Iraqi law, a civil action for wrongful death may be brought by any

heirs of the decedent. Article 5 of the Iraqi Code of Civil Procedure states, “[i]t is

legally valid that one of the heirs can be an adversary in the lawsuit for . . . the

dead . . . .” Article 89 of the Iraqi Law of Personal Status defines parents as

“heirs.”

      Georgia and Iraqi law both provide for standing on the part of the Plaintiffs

in this case. Iraqi law on this issue is not inconsistent with Georgia public policy.

             4.     Wrongful Death Damages

      Under Georgia law, damages for wrongful death can be recovered in the

amount of “the full value of the life of the child.” O.C.G.A. § 19-7-1(c)(1). The

full value of the wrongfully ended life “consists of both the economic value of the

deceased’s normal life expectancy as determined by his expected lifetime

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earnings,” as well as intangible non-economic factors “incapable of exact proof,”

or even exact definition. Dept. of Human Resources v. Johnson, 592 S.E.2d 124,

131 (Ga. Ct. App. 2003) (quotation and citation omitted).

      Under Iraqi law, Article 207 of the Iraqi Civil Code requires the court to

determine damages “commensurately with the injury and the loss of gain sustained

by the victim provided that the same was a natural result of the unlawful act. . . .

Deprivation from (loss of) benefits of things will be included in the estimation of

damages and the liability may cover the wage (fee/remuneration).” (Pls. Mem. at

7.) Assessing wrongful death damages under Iraqi law “involves a purely

computational approach, related to the victim’s present and future career, work,

and profits. Estimates are based on the deceased person’s age, as well as on work

and economic variables that could affect his social and economic progress,” as well

as “additional intangible value” (e.g., various positive attributes and hopes for the

victims future.” (Pls. Mem. at 7-8.) Under Article 133 of the Iraqi (Prove) Law

(No. 107) of 1979, the Court may, but is not required to, rely on expert opinions in

estimating damages. Article 209 of the Iraqi Civil Code states that the Court must

also “determine the method of payment of damages.”

      Georgia and Iraqi law provide for similar, if not identical, measures of

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damages in wrongful death suits. Georgia’s “full value of the life of the decedent”

standard is substantially similar in result to the Iraqi standard of “loss of gain

sustained by the victim.” Both theories consist primarily of two components: (i) a

calculation of an economic value of the victim based on his age, life expectancy,

qualifications, and career; and (ii) an estimation of “intangible value.” Although

the briefing provided suggests that Georgia’s law of damages might not be based

on precisely the same theory as the Iraqi law of damages, the Court is satisfied that

damages in this case would be calculated in a substantially similar manner under

either set of laws. Iraqi law on this issue is thus not inconsistent with Georgia

public policy.

      C.     Damages

      In default proceedings, “damages may be awarded only if the record

adequately reflects the basis for award via a hearing or demonstration by detailed

affidavits establishing the necessary facts.” Adolph Coors Co. v. Movement

Against Racism and the Klan, 777 F.2d 1538, 1544 (11th Cir. 1985) (quotation and

citation omitted). A hearing is required if the damages claimed are not readily

ascertainable from the pleadings and the record. United Artists Corp. v. Freeman,

605 F.2d 854, 857 (5th Cir. 1979).

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      On April 25, 2007, the Court held a hearing on damages in this case. At that

hearing, Plaintiffs presented expert reports and testimony on the loss sustained as a

result of Lt. Col. Baragona’s death. At the damages hearing, Plaintiffs provided

testimony by Dr. Charles Sodikoff, an expert on career management, and Pia

Giralamo, a statistician and economist. The testimony at the hearing established

the total economic loss from Lt. Col. Baragona’s death to be in the range between

$3,907,048 to $8,097,326. The expert reports and testimony presumed that Lt.

Col. Baragona would have a life expectancy of 78 years, and would work until age

65.

      The economic damage amount of $3,907,048 was arrived at by assuming

that Lt. Col. Baragona’s income would remain consistent with his military salary

until his retirement. The economic damage amount of $8,097,326 was arrived at

by assuming that Lt. Col. Baragona would enter the private sector in 2009 at a

salary of approximately $144,000 per year, and would enjoy salary increases to

$273,000 per year by 2014 and $800,000 per year by 2019.3 The Court finds that

the estimates of Lt. Col. Baragona’s potential salary in the private sector used to


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       These figures were discounted to present value. The figures also included
allowances for fringe benefits.

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calculate the higher damages figure is based primarily on speculation. Plaintiffs

have not presented sufficient evidence for the Court to find that Lt. Col. Baragona

would be likely to obtain a six-figure salary immediately upon leaving the military.



       Having carefully considered the expert reports and testimony in this case,

the Court finds that the record supports a computation of damages based on the

“victim’s present and future career, work, and profits” and “additional intangible

value” in the amount of $4,907,048.

III.   CONCLUSION

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs Motion for Order Allowing the

Submission of Affidavits [29] is GRANTED.

       The Court enters JUDGMENT in the amount of $4,907,048, to be paid by

KGL in a single lump payment.




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SO ORDERED this 5th day of November, 2007.




                            _______________________________
                            WILLIAM S. DUFFEY, JR.
                            UNITED STATES DISTRICT JUDGE




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